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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TIMOTHY WARD,

                                Plaintiff,
                                                                 20-CV-9498 (CM)
                    -against-
                                                                CIVIL JUDGMENT
DEPARTMENT OF CORRECTIONS, et al.,

                                Defendants.

         Pursuant to the order issued December 28, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed without

prejudice for Plaintiff’s failure to submit a completed request to proceed in forma pauperis (“IFP

application”) and prisoner authorization or pay the $402.00 in filing fees. See 28 U.S.C. §§ 1914,

1915.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     December 28, 2020
           New York, New York

                                                          COLLEEN McMAHON
                                                      Chief United States District Judge
